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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

  UNITED STATES OF AMERICA,
  Plaintiff,
             v.                                            CRIMINAL NO. 3:22-342 (SCC)

  [1] WANDA VÁZQUEZ GARCED,
  [2] JULIO M. HERRERA VELUTINI,
  [3] MARK T. ROSSINI,
  Defendants.


                                    PROPOSED ORDER

       Having considered the United States’ Motion to Produce and for Entry of an Order

Pursuant to Federal Rule of Evidence 502(d),

       IT IS HEREBY ORDERED THAT the United States’ Motion for Entry of an Order

Pursuant to Federal Rule of Evidence 502(d) is GRANTED.

       IT IS FURTHER ORDERED THAT pursuant to Federal Rule of Evidence 502(d),

Federal Rule of Criminal Procedure 16(d), and the Court’s Protective Orders (ECF No. 31 and 76),

   1. The United States, by and through its assigned Filter Team, is authorized to produce to the

       Defendants discovery materials that may contain information potentially subject to the

       attorney-client privilege, attorney work product doctrine, or other privilege or protection

       belonging to a third-party (collectively the “BIBTC Filter Material”).

   2. The BIBTC Filter Material was obtained in response to search warrants executed on an

       Apple Account associated with Defendant Herrera; a Yahoo Account associated with

       Defendant Hererra; an Apple Account associated with Defendant Rossini; a Google

       Account associated with Defendant Rossini; an Apple Account associated with Frances

       Diaz, the former president of BIBTC who pleaded guilty in March 2022 in Case No. 222-

       cr-085 (FAB); a Yahoo Account associated with Diaz; and two phones seized from Diaz.
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   3. Pursuant to Federal Rule of Evidence 502(d), disclosure of the BIBTC Filter Material to the

      Defendants will not result in any subject matter waiver in this proceeding and will not result

      in waiver of the attorney-client privilege, attorney work product protection, or any other

      applicable privilege or protection, in this or in any other Federal or State proceeding.

   4. The Protective Orders issued on August 16, 2022 (ECF No. 31) and September 2, 2022

      (ECF No. 76) shall apply to the discovery material produced pursuant to this Order.

      DONE and ORDERED.



___________________________________
Date

                                     __________________________________________
                                     THE HONORABLE SILVIA L. CARRENO-COLL
                                     UNITED STATES DISTRICT JUDGE




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